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IN THE UNITED STATES DISTRICT COURT }WEDEI’ ékJ DC-

FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIvIsIoN 05 HMSI PH 3302

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CLERK, U,S. DLST 019

WZD.OFTN\MCK&]V
ZACHARY ROBBINS, a minor, by and

through his parents, YVONNE ROBBINS
and DANNY ROBBINS, Individually
Plaintiffs,

vs. Civil Action No. 1:04-1294-T/tmp

SUSAN WALLACE, Individually, and
HENDERSON COUNTY BOARD OF EDUCATION

Defendants.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for JURY TRIAL on
MONDAYl SEPTEMBER 11, ggg€. at 9:30 g¢g$ in the Federal Courtroom,
Room 432 Fourth Floor, U. S. Courthouse, in Jackson, TN. A joint
pre-trial order must be submitted to the court by MONDAYl AUGUST
28l 2006. All discovery must be completed before that date.

Counsel, and any party proceeding p;g §g, MUST confer and
attempt to prepare a joint pre-trial order which covers the items
set forth below. If a joint pre-trial order cannot be agreed upon,
the attorneys must notify the court at least 10 days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying the court, the attorney for each party or a party
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

1. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the

proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties with regard to the nature

and amounts of damages;

4. specific facts that may be stipulated (possible

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sources of these agreed facts are the pleadings,
discovery, or admission of counsel);

5. contested issues of fact;

6. Contested issues of law;

7. exhibits (except documents for impeachment only) to
be offered in evidence by the parties, and to the extent
possible, a stipulation as to admissibility;

8. witnesses for the parties - indicate those who will
be called in the absence of reasonable notice to opposing
counsel to the contrary and those who may be called as a
possibility only.

Counsel, and any party proceeding pro §g, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar with pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and define the triable issues, expedite the trial, and save
expense. At the time of the conference, counsel and any party
proceeding M g will report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman
Christenson, When Is A Pre-Trial Conference A "Pre-Trial
Conference"?l 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth Circuit); see also Fed. R. Civ. P. 16.

IF AN ATTORNEY OR A PARTY PROCEEDING EBQ §§ FAILS TO APPEAR AT THE
PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.
IT IS SO ORDERED.

ENTERED AS DIRECTED,

ROBERT R. DI TROLIO, CLERK

BY= (‘;w.,év,) waco
Deputy Clerk

DATE: 5/3[/ ag

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CV-01294 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

ESSEE

 

Jennifer Craig
WALDROP & HALL
106 S. Liberty Street
P.O. BOX 726

Jackson, TN 38302--072

Jason B. Rudd

PENTECOST GLENN & RUDD, PLLC
106 Stcnebridge Blvd.

Jackson, TN 38305

Clintcn H. Scott

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jackson, TN 38302--114

LeWis L. Cobb

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

Jackson, TN 38302--200

Charles M. Purcell
WALDROP & HALL
106 S. Liberty Street
P.O. BOX 726

Jackson, TN 38302--072

J ames Brandon McWherter

SPRAGINS BARNETT COBB & BUTLER
P.O. BOX 2004

Jackson, TN 38302--200

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J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stcnebridge Blvd.

Jackson, TN 38305

Honorable J ames Tcdd
US DISTRICT COURT

